            Case 5:18-cr-00258-EJD Document 1592 Filed 09/28/22 Page 1 of 21




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10

11                             UNITED STATES DISTRICT COURT

12                           NORTHERN DISTRICT OF CALIFORNIA

13                                    SAN JOSE DIVISION

14
     UNITED STATES OF AMERICA,               )   Case No. CR-18-00258-EJD
15                                           )
            Plaintiff,                       )   MS. HOLMES’ REPLY IN SUPPORT OF
16                                           )   MOTION FOR NEW TRIAL BASED ON
       v.                                    )   NEWLY DISCOVERED EVIDENCE
17                                           )   RELATING TO LIS DATABASE
     ELIZABETH HOLMES and                    )
18   RAMESH “SUNNY” BALWANI,                 )
                                             )   Hon. Edward J. Davila
19          Defendants.                      )
                                             )
20                                           )
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     MS. HOLMES’ REPLY IN SUPPORT OF MOTION FOR NEW TRIAL BASED ON NEWLY
     DISCOVERED EVIDENCE RELATING TO LIS DATABASE
     CR-18-00258 EJD
        Case 5:18-cr-00258-EJD Document 1592 Filed 09/28/22 Page 2 of 21




 1                                                   TABLE OF CONTENTS

 2      I.        Brady v. Maryland Provides the Applicable Standard.........................................................4
        II.       The Documents Underlying the Brady Letter Were Favorable to Ms. Holmes. .................4
 3
        III.      The Government Suppressed the Emails Underlying the Brady Letter. ..............................8
 4      IV.       The Suppressed Evidence is Material. .................................................................................9
 5                A.     There is a Reasonable Probability of Acquittal, Because The
                         Suppressed Evidence Undermines the Quality of the Government
 6                       Investigation; Exposes Bias on the Part of the Prosecutors at Trial; and
                         Requires Suppression of Evidence and Testimony Relating to the LIS. .................9
 7
                  B.         The Government’s Arguments to the Contrary Are Unavailing. ...........................11
 8
        V.        Discovery and an Evidentiary Hearing Are Required. ......................................................14
 9      VI.       The Emails Would Warrant A New Trial Even if They Were Not Brady-
                  Giglio Material. ..................................................................................................................15
10
        CONCLUSION ..............................................................................................................................15
11

12

13

14

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16

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18

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28 MS. HOLMES’ REPLY IN SUPPORT OF MOTION FOR NEW TRIAL BASED ON NEWLY
   DISCOVERED EVIDENCE RELATING TO LIS DATABASE
   CR-18-00258 EJD
                                        i
                 Case 5:18-cr-00258-EJD Document 1592 Filed 09/28/22 Page 3 of 21




 1

 2                                                                           CASES

 3 Almado v. Gonzalez, 758 F.3d 1119 (9th Cir. 2014) .......................................................................4

 4 Arizona v. Youngblood, 488 U.S. 51 (1988) ..............................................................................4, 10

 5 Brady v. Maryland, 373 U.S. 83 (1963) ...................................................................................3, 13

 6
      Browning v. Baker, 875 F.3d 444 (9th Cir. 2017) .........................................................................11
 7
      Carriger v. Stewart, 132 F.3d 463 (9th Cir. 1997) (en banc) ..........................................................8
 8
      Comstock v. Humphries, 786 F.3d 701 (9th Cir. 2015) ...................................................................4
 9
      Kyles v. Whitley, 514 U.S. 419 (1995) .........................................................................................4, 5
10
      Morris v. Ylst, 447 F.3d 735 (9th Cir. 2006) .................................................................................14
11
      United Stated v. Stevers, 603 F.3d 747 (9th Cir. 2010) ...................................................................4
12
      United States v. Agurs, 427 U.S. 97 (1976) .....................................................................................4
13

14 United States v. Doe, 705 F.3d 1134 (9th Cir. 2013).......................................................................4

15 United States v. Dupuy, 760 F.2d 1492 (9th Cir. 1985)...................................................................9

16 United States v. Loud Hawk, 628 F.2d 1139 (9th Cir. 1979) .................................................2, 4, 10

17 United States v. Obagi, 965 F.3d 993 (9th Cir. 2020) ...............................................................3, 14

18 United States v. Price, 566 F.3d 900 (9th Cir. 2009).......................................................................8

19 United States v. Rodriguez, 496 F.3d 221 (2d Cir. 2007) ..............................................................10

20
      United States v. Van Griffin, 874 F.2d 634 (9th Cir. 1989) .............................................................7
21
                                                                       RULES
22
      Fed. R. Crim. P. 29 ........................................................................................................................11
23
      Fed. R. Crim. P. 33 ....................................................................................................................4, 14
24
      Fed. R. Evid. 401 .............................................................................................................................7
25
      Fed. R. Evid. 403 .............................................................................................................................7
26
      Fed. R. Evid. 404 ...........................................................................................................................12
27

28 MS. HOLMES’ REPLY IN SUPPORT OF MOTION FOR NEW TRIAL BASED ON NEWLY
   DISCOVERED EVIDENCE RELATING TO LIS DATABASE
   CR-18-00258 EJD
                                        ii
                 Case 5:18-cr-00258-EJD Document 1592 Filed 09/28/22 Page 4 of 21




 1 Fed. R. Evid. 608 .............................................................................................................................8

 2 Fed. R. Evid. 801 .............................................................................................................................7

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28 MS. HOLMES’ REPLY IN SUPPORT OF MOTION FOR NEW TRIAL BASED ON NEWLY
   DISCOVERED EVIDENCE RELATING TO LIS DATABASE
   CR-18-00258 EJD
                                        iii
            Case 5:18-cr-00258-EJD Document 1592 Filed 09/28/22 Page 5 of 21




 1          In response to a motion questioning the quality of the government’s conduct in this case, the

 2 government’s opposition is notable for what it does not say. The government does not dispute the

 3 following:

 4                 That the government first disclosed on June 2, 2022 that Mr. Schenk, Mr. Bostic, and Mr.
 5                  Leach were the “government attorneys” in the Brady Letter;

 6                 That Mr. Schenk, Mr. Bostic, and Mr. Leach decided not to follow recommended options
 7                  for accessing the LIS in October 2018 (approximately five months after Mr. Schenk and

 8                  Mr. Bostic had been cautioned of potential complications associated with accessing the

 9                  LIS by Theranos counsel, and nearly two years after Mr. Leach was informed of the

10                  critical data residing in the LIS). According to expert testimony, one of those options

11                  would have preserved the LIS.

12                 That the government concealed from defense counsel its difficulty in accessing the LIS at
13                  a time when, according to expert testimony, the LIS could have been preserved;

14                 That the government deferred (for reasons unknown) producing the LIS copy to Ms.
15                  Holmes for more than one year after its internal deadline for completing document

16                  production to defense counsel;

17                 That the government’s Brady Letter inaccurately stated that the Assignee told the
18                  government that only Mr. Balwani knew how to access the LIS;1

19                 That the emails show that Mr. Schenk, Mr. Bostic, and Mr. Leach (rather than pursue
20                  other, recommended options) decided to “push back on” the Assignee to produce the LIS

21                  “in a standard way” as late as October 30, 2018, despite the fact that counsel for the

22                  Assignee informed Mr. Bostic on October 15, 2018 that the LIS was encrypted and the

23                  Assignee lacked the code.

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26          In truth, Mr. Bostic was informed that a second “employee” other than Mr. Balwani might
   know how to access the LIS. Dkt. 1577-10. That fact presents one more avenue for the potential
27 preservation of the LIS that the government did not timely explore, and thus is probative of the poor
   quality of the government’s conduct.
28 MS. HOLMES’ REPLY IN SUPPORT OF MOTION FOR NEW TRIAL BASED ON NEWLY
   DISCOVERED EVIDENCE RELATING TO LIS DATABASE
   CR-18-00258 EJD
                                                       1
            Case 5:18-cr-00258-EJD Document 1592 Filed 09/28/22 Page 6 of 21




 1                 That the emails tend to show bias on the part of the government to minimize the
 2                  importance of the LIS through misleading questions of Dr. Adam Rosendorff, Ms. Erika

 3                  Cheung, Mr. Nimesh Jhaveri, and Dr. Lynette Sawyer;

 4                 That the government (in fact) asked misleading questions of those witnesses that
 5                  minimized the significance of the LIS;

 6                 That a government witness (Dr. Adam Rosendorff) described using the LIS to investigate
 7                  questions concerning the accuracy and reliability of patient testing, including through

 8                  analysis of trends;

 9                 That government witnesses (Dr. Adam Rosendorff, Ms. Erika Cheung, and Dr. Kingshuk
10                  Das) relied on patient testing and quality control data that would have resided in the LIS

11                  for their testimony;

12                 That this Court has held that the emails produced to Ms. Holmes on June 2, 2022 were
13                  Brady material;

14                 That the government previously refused to produce these emails despite repeated, specific
15                  requests from Ms. Holmes;

16                 That Ms. Holmes lacks answers to specific, open questions relating to the government’s
17                  conduct in failing to access and preserve the LIS.

18          Instead, the government makes four principal arguments. First, it claims that the emails were not

19 suppressed and are not “material” because they contain the same “substantive information” (a term

20 derived from a strand of case law not involving Brady) as the government’s October 29, 2020 Brady

21 Letter. That is not true—as described in Ms. Holmes’ motion, the emails are admissible evidence

22 bearing previously unknown exculpatory information, including (but not limited to) the identity of the

23 prosecutors involved in the decision not to take steps that would have preserved the LIS. These emails

24 would have identified the relevant witnesses, and, when viewed in the context of the record as a whole,

25 would have enabled Ms. Holmes to expose the sloppy government investigation, the apparent bias of

26 members of the prosecution team, and would have resulted (under the Due Process Clause and Loud

27 Hawk) in the suppression of evidence and testimony relating to patient testing and quality control data.

28 MS. HOLMES’ REPLY IN SUPPORT OF MOTION FOR NEW TRIAL BASED ON NEWLY
   DISCOVERED EVIDENCE RELATING TO LIS DATABASE
   CR-18-00258 EJD
                                        2
            Case 5:18-cr-00258-EJD Document 1592 Filed 09/28/22 Page 7 of 21




 1 Without these documents, Ms. Holmes did not know which witnesses to call at trial, or what specific

 2 documents to use in connection with their examination.

 3          Second, the government insists that, to the extent that the emails relate to alleged

 4 misrepresentations concerning the accuracy and reliability of Theranos technology, those were only one

 5 “sub-category” of alleged statements at issue in the investor counts. But the government’s trial

 6 presentation (including opening and closing statements) put the accuracy-and-reliability allegations front

 7 and center with respect to those counts. In his closing argument, Mr. Schenk described those allegations

 8 as “sort of the underlying false statement in the case” and “a thread through this scheme.” Holmes Tr.

 9 8959:6-11 (gov’t closing statement). The emails show that members of the prosecution team failed to

10 preserve the key evidence underlying the element of falsity on this “underlying false statement in the

11 case.” Id.

12          Third, the government maintains that, because Mr. Balwani obtained these emails during his trial

13 and was convicted, there is not a reasonable probability of a different outcome for Ms. Holmes. But

14 Brady’s materiality prong requires a retrospective analysis of the effect of the Brady evidence on Ms.

15 Holmes’ trial—not Mr. Balwani’s. Mr. Balwani’s trial was a different trial, with different witnesses and

16 evidence. Apart from the factual distinctions between the cases, Ms. Holmes’ case featured a split

17 verdict, with acquittals, hung counts, and a limited number of convictions. By contrast, Mr. Balwani

18 was convicted on all twelve counts. The Ninth Circuit has recognized that prejudice from the

19 suppression of exculpatory evidence is especially likely in cases with split verdicts and multi-day jury

20 deliberations. See United States v. Obagi, 965 F.3d 993, 998 (9th Cir. 2020).

21          Lastly, the government suggests that the emails were not favorable, suppressed, or material

22 because Ms. Holmes did not put at issue the government’s role in the loss of the LIS in her trial. The

23 government apparently believes that Ms. Holmes should have changed her trial strategy in order to gain

24 access to exculpatory documents uniquely in the government’s possession. The record is clear that Ms.

25 Holmes diligently pursued this evidence in advance of trial through specific requests and motion

26 practice. Had the government met its Brady obligations, Ms. Holmes would have known what evidence

27 was available to present at trial. This argument turns the Due Process Clause on its head: the duty to

28 MS. HOLMES’ REPLY IN SUPPORT OF MOTION FOR NEW TRIAL BASED ON NEWLY
   DISCOVERED EVIDENCE RELATING TO LIS DATABASE
   CR-18-00258 EJD
                                        3
            Case 5:18-cr-00258-EJD Document 1592 Filed 09/28/22 Page 8 of 21




 1 disclose exculpatory evidence under Brady lies with the government---irrespective of whether the

 2 defendant even requests the specific evidence, as Ms. Holmes did. See Almado v. Gonzalez, 758 F.3d

 3 1119, 1133-34 (9th Cir. 2014).

 4          The emails relating to the LIS are favorable; they were suppressed by the government; and, had

 5 they been available to Ms. Holmes at her trial, there is a reasonable probability that the jury would have

 6 acquitted her of the offenses of conviction. Ms. Holmes is entitled to a new trial and an evidentiary

 7 hearing.

 8 I.       Brady v. Maryland Provides the Applicable Standard.
 9          The government spends most of its opposition applying the wrong legal standard: the Rule 33

10 test applicable to discovery errors, not to Brady violations. When (as here) the evidence at issue “was in

11 the [government’s] possession,” the constitutionally mandated Brady standard governs a motion for a

12 new trial. United States v. Agurs, 427 U.S. 97, 111-112 & n.19 (1976). As the Ninth Circuit has

13 explained, the Brady standard is “much relaxed” from the usual Rule 33 standard governing discovery

14 violations, United States v. Doe, 705 F.3d 1134, 1152-53 (9th Cir. 2013), and is “more favorable to

15 defendants,” United Stated v. Stevers, 603 F.3d 747, 755 n.2 (9th Cir. 2010)). The government’s

16 repeated citation to cases not applying the Brady standard is an invitation to commit error, and must be

17 rejected.

18 II.      The Documents Underlying the Brady Letter Were Favorable to Ms. Holmes.

19          The government barely contests the first Brady prong: that the at-issue emails are “favorable . . .

20 for Brady purposes” because they “would tend to call the government’s case into doubt.” Comstock v.

21 Humphries, 786 F.3d 701, 708 (9th Cir. 2015). The government does not so much as cite Kyles v.

22 Whitley, 514 U.S. 419 (1995) (holding that evidence undermining the quality of the government

23 investigation is Brady material); Arizona v. Youngblood, 488 U.S. 51 (1988) (setting out Due Process

24 standard for failure to preserve evidence); or United States v. Loud Hawk, 628 F.2d 1139, 1151 (9th Cir.

25 1979) (Kennedy, J.) (controlling op.) (setting out balancing test when government fails to preserve

26 evidence, but does not violate the Due Process Clause).

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28 MS. HOLMES’ REPLY IN SUPPORT OF MOTION FOR NEW TRIAL BASED ON NEWLY
   DISCOVERED EVIDENCE RELATING TO LIS DATABASE
   CR-18-00258 EJD
                                        4
            Case 5:18-cr-00258-EJD Document 1592 Filed 09/28/22 Page 9 of 21




 1          First, the government attempts to relitigate whether it even had a Brady obligation to turn over

 2 the emails in the first place. Opp’n at 21-22. But this Court has correctly held that, under Kyles and its

 3 progeny, the emails relating to the LIS are favorable because they undermine the quality of the

 4 government’s investigation, Dkt. 1464 at 3-4. To the extent the government believes that the emails

 5 show that “reconstructing the LIS database . . . was no longer possible,” Opp’n at 22—in truth, a key

 6 email thread indicates the opposite—that position merely reaffirms the need (long requested by Ms.

 7 Holmes) for an evidentiary hearing concerning the government’s failure to secure the LIS and the

 8 prejudice that ensued. See Dkt. 810 at 7; Dkt. 850 at 8-14; Dkt. 1577.

 9          Second, the government implies that the emails are not favorable because Ms. Holmes did not

10 pursue the “same defense” as Mr. Balwani—i.e., she did not to put at issue the government’s failure to

11 collect and preserve the LIS database at trial. Opp’n at 22. But Ms. Holmes did not need to decide to

12 pursue a defense in order to make the emails favorable. Ms. Holmes could have decided whether to

13 pursue this defense after receiving the favorable documents (as Brady requires).

14          Third, the government argues that the emails are “cumulative and likely inadmissible.” Opp’n at

15 22. The government is wrong on both points. As Ms. Holmes explained in her opening brief, the emails

16 contain specific, exculpatory information that was absent from the October 29, 2020 Brady Letter. For

17 example, the emails reveal that:

18                 Mr. Schenk, Mr. Bostic, and Mr. Leach were the “government attorneys” in the October
19                  29, 2020 Brady Letter. E.g., Dkt. 1577-5. The Brady Letter did not identify the

20                  “government attorneys” by name, office, or title. Nor did it specify which (or how many)

21                  “government attorneys” were involved in which events. E.g., Dkt. 732-2, ¶¶ 46-47, p. 22.

22                 Among other newly identified non-attorney government personnel disclosed in the
23                  emails, Ms. Sutton Peirce was the Automated Litigation Support supervisor and Ms.

24                  Lakisha Holliman was the paralegal in the Brady Letter. E.g., Dkt. 1577-5. The Brady

25                  Letter did not identify either individual. E.g., Dkt. 732-2, ¶¶ 46-47, p. 22.

26                 Counsel for Assignee informed Mr. Bostic on October 15, 2018 that someone other than
27                  Mr. Ramesh Balwani may have been able to access the LIS. Dkt. 1577-10. The Brady

28 MS. HOLMES’ REPLY IN SUPPORT OF MOTION FOR NEW TRIAL BASED ON NEWLY
   DISCOVERED EVIDENCE RELATING TO LIS DATABASE
   CR-18-00258 EJD
                                        5
            Case 5:18-cr-00258-EJD Document 1592 Filed 09/28/22 Page 10 of 21




 1                  Letter misleadingly states that the Assignee “could not identify anyone” other than

 2                  Balwani. Dkt. 732 ¶ 48, p. 22.

 3                 Counsel for Assignee informed Mr. Bostic on October 15, 2018 that he believed that the
 4                  LIS was “encrypted” and that the Assignee “did not have the code” for the LIS. Dkt.

 5                  1577-10. The Brady Letter vaguely describes this communication as occurring in

 6                  “approximately October and November 2018.” Dkt. 732 ¶ 48, p. 22.

 7                 Despite this October 15 communication, Mr. Schenk, Mr. Bostic, and Mr. Leach decided
 8                  at a meeting on a still-undisclosed day in October 2018 not to pursue specific,

 9                  recommended options to access and preserve the LIS. That decision was memorialized in

10                  an October 30, 2018 email sent by Ms. Holliman. Dkt. 1577-5. The Brady Letter said

11                  only that unnamed “government attorneys” participated in that October meeting. Dkt.

12                  732 ¶ 47, p. 22.

13                 Mr. Schenk, Mr. Bostic, and Mr. Leach never responded to any email from Ms. Holliman
14                  or Ms. Peirce relating to preserving the LIS.

15                 Mr. Leach believed it was “important” to produce all discovery by “4/15” (presumably
16                  April 15, 2019). Dkt. 1577-12.

17 The government ignores most of this new evidence, and suggests that Ms. Holmes already knew the

18 identity of the participants in these events. But contrary to the government’s out-of-context quotations,

19 Ms. Holmes has never once claimed to know the identity of the unnamed “government attorneys” in the

20 Brady letter. At the first motion to suppress argument, Ms. Holmes’ counsel stated only that “[t]he

21 evidence to date, which today is still incomplete, . . . suggests that . . . the prosecutors prosecuting this

22 case repeatedly disregarded advice from their own support staff regarding steps that they should take to

23 access and preserve the LIS database.” 7/7/2021 Tr. 11:4-8 (emphasis added). Later in the same

24 hearing, Ms. Holmes’ counsel questioned how Ms. Holmes could “exercise a judgment about whether or

25 not to produce evidence at trial or to call witnesses on this issue” in light of the government’s “refus[al]

26 to tell us who the witness[es] are . . . [or] to actually give us the evidence.” Id. at 40:19-22.

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28 MS. HOLMES’ REPLY IN SUPPORT OF MOTION FOR NEW TRIAL BASED ON NEWLY
   DISCOVERED EVIDENCE RELATING TO LIS DATABASE
   CR-18-00258 EJD
                                        6
            Case 5:18-cr-00258-EJD Document 1592 Filed 09/28/22 Page 11 of 21




 1          To be sure, Ms. Holmes has at times referred to the fact that Mr. Schenk, Mr. Bostic, and Mr.

 2 Leach may be witnesses as to the government’s failure to preserve the LIS. See 5/4/2021 Tr. 55-58; cf.

 3 Dkt. 1003 at 2-3 (witness list). Ms. Holmes did not base those statements on the Brady Letter, but

 4 instead on specific documents showing that those prosecutors were on notice of the importance of the

 5 evidence residing on the LIS and of the potential complications associated with accessing and preserving

 6 it prior to the closure of the Theranos Newark facility. See, e.g., Dkt. 732-4 (redacted), 736-7

 7 (unredacted) (June 5, 2018 email recounting prior communication to Mr. Schenk as to complications

 8 associated with accessing the LIS); Dkt. 732-3 (May 23, 2018 email recounting conversation that day

 9 with Mr. Schenk and Mr. Bostic on the same subject); Dkt. 732-1 (Dec. 17, 2016 letter to Mr. Leach

10 describing contents of the LIS). Owing to the cloaked identities of the government personnel in the

11 Brady Letter, Ms. Holmes had no choice but to list those witnesses as “Government Attorneys LNU,”

12 “Government Paralegal LNU,” “Automated Litigation Support Supervisor LNU,” and “USAO

13 Employee in the Automated Litigation Support Unit LNU.” Dkt. 1003 at 3. This information made

14 clear that Ms. Holmes wished to present this defense, but lacked sufficient information by which to do it.

15          The emails are admissible under Rules 401 and 403. The government’s argument to the contrary

16 is startling, as the government itself admitted two of the emails at issue in Mr. Balwani’s trial. See Dkt.

17 1577 at 3. There is no question that the emails would have been admissible in Ms. Holmes’ trial as well.

18 For starters, they are admissible for notice to Mr. Schenk, Mr. Bostic, and Mr. Leach concerning (among

19 other things) potential avenues to accessing and preserving the LIS. Separately, they are admissions of a

20 party opponent, and thus admissible against the government for the truth of the matter asserted. Fed. R.

21 Evid. 801(d)(2); see United States v. Van Griffin, 874 F.2d 634, 638 (9th Cir. 1989). Ms. Holmes’

22 witness list identified individuals through whom the emails could have been admitted, and the

23 government’s own use of statements of a party opponent at Ms. Holmes’ trial shows that such

24 documents need not be introduced through witnesses with percipient knowledge. This could have

25 included people who were not trial participants, such as Sutton Peirce, the ALS supervisor identified in

26 the emails.2 Elsewhere, the government suggests that the emails may be inadmissible because the Court

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         2
           Of course, defense counsel routinely call non-attorneys involved in the investigation of matters,
28 MS. HOLMES’ REPLY IN SUPPORT OF MOTION FOR NEW TRIAL BASED ON NEWLY
   DISCOVERED EVIDENCE RELATING TO LIS DATABASE
   CR-18-00258 EJD
                                                      7
            Case 5:18-cr-00258-EJD Document 1592 Filed 09/28/22 Page 12 of 21




 1 barred Mr. Balwani from “calling any members of the prosecution team as witnesses,” but omits the fact

 2 that the Court based that order on Mr. Balwani’s counsel’s representation that he would not call those

 3 witnesses. Dkt. 1464 at 8 n.3. Had Ms. Holmes had the benefit of the newly produced material, she

 4 could have called Ms. Peirce and admitted much of the relevant information, without needing to satisfy

 5 the standard for calling prosecutors.

 6          The emails easily satisfy the standard of Ninth Circuit case law, which has assessed favorable

 7 evidence for materiality so long as it is “potentially admissible.” See United States v. Price, 566 F.3d

 8 900, 911-14 (9th Cir. 2009) (concluding that suppressed impeachment evidence that would only have

 9 been admissible under Rule 608(b), pursuant to an exercise of the court’s discretion, was material under

10 Brady).3 Furthermore (and contrary to the government’s suggestion of a per se requirement of

11 admissibility), it is still an open question in the Ninth Circuit whether the suppression of inadmissible

12 evidence may violate the Constitution. See id.

13 III.     The Government Suppressed the Emails Underlying the Brady Letter.

14          The government suppressed the documents underlying the Brady Letter, and this motion is

15 timely as a result. In response, the government insists that it “disclosed the substantive information”

16 contained in the emails to Ms. Holmes through the Brady Letter, and thus cannot be said to have

17 engaged in suppression. Opp’n at 23. But as Ms. Holmes has explained, the underlying emails did

18 contain new evidence. “[T]he government cannot satisfy its Brady obligation to disclose exculpatory

19 evidence by making some evidence available and claiming the rest would be cumulative.” Carriger v.

20 Stewart, 132 F.3d 463, 481 (9th Cir. 1997) (en banc). The Brady Letter did not provide Ms. Holmes

21 with “the essential facts which would enable [her] to call the witness[es] and thus take advantage of any

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24 such as FBI, IRS, and other government agents.
           3
25           Although Ms. Holmes addresses the government’s contention that the emails are cumulative
   and inadmissible under the first Brady prong (whether the evidence is favorable), the government cites
26 to no case (and Ms. Holmes is aware of none) concluding that evidence is not favorable to the defendant
   because it is cumulative or inadmissible. The few cases analyzing whether evidence is cumulative or
27 admissible arise in the third and final prong of Brady: the assessment of the withheld evidence in the
   context of the record as a whole.
28 MS. HOLMES’ REPLY IN SUPPORT OF MOTION FOR NEW TRIAL BASED ON NEWLY
   DISCOVERED EVIDENCE RELATING TO LIS DATABASE
   CR-18-00258 EJD
                                                        8
            Case 5:18-cr-00258-EJD Document 1592 Filed 09/28/22 Page 13 of 21




 1 exculpatory testimony that [they] might furnish,” for (among others) the simple reason that it did not

 2 identify those witnesses at all. United States v. Dupuy, 760 F.2d 1492, 1502 (9th Cir. 1985).

 3          In United States v. Liew, the Ninth Circuit found suppression in a similar circumstance. There,

 4 the government produced an FD-302 memorandum of interview with the deceased co-conspirator of the

 5 defendant, but not the rough notes underlying that memorandum. 856 F.3d 585, 604 (9th Cir. 2017).

 6 After the defendant proffered a declaration identifying discrepancies between the FD-302 and the

 7 interview, the Ninth Circuit held that the government had failed to show that, in light of those possible

 8 discrepancies, it “satisfied its duty to disclose all favorable evidence known to it.” Id. (brackets

 9 omitted). The Ninth Circuit vacated the order denying defendants’ production request, and remanded to

10 the district court to assess whether the suppressed notes were material. Id.; see also Dupuy, 760 F.2d at

11 1503 (reversing conviction even though government disclosed identities of witnesses, because

12 government failed to produce witness statements). A number of the government’s cases relating to

13 whether evidence is “newly discovered” do not arise in the Brady context, and therefore must be

14 ignored.

15 IV.      The Suppressed Evidence is Material.

16          A.      There is a Reasonable Probability of Acquittal, Because The Suppressed Evidence
                    Undermines the Quality of the Government Investigation; Exposes Bias on the Part
17                  of the Prosecutors at Trial; and Requires Suppression of Evidence and Testimony
                    Relating to the LIS.
18
            Had the government timely produced the documents underlying the Brady Letter, there is a
19
     reasonable probability that the jury would have acquitted Ms. Holmes of the offenses of conviction.
20
     That is because the emails call into question the integrity of the government’s investigation; expose bias
21
     in its presentation at trial; and because the emails would have resulted in the suppression of key
22
     government evidence in the case. See Dkt. 1577.
23
            The government does not meaningfully engage with these arguments. First, rather than defend
24
     the quality of its investigation, the government merely incorporates by reference arguments previously
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     made to (and rejected by) this Court. Opp’n at 24. The government has no answer to the fact that
26
     government’s own witnesses established that the LIS was the central repository of patient-testing and
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28 MS. HOLMES’ REPLY IN SUPPORT OF MOTION FOR NEW TRIAL BASED ON NEWLY
   DISCOVERED EVIDENCE RELATING TO LIS DATABASE
   CR-18-00258 EJD
                                        9
            Case 5:18-cr-00258-EJD Document 1592 Filed 09/28/22 Page 14 of 21




 1 quality-control data at Theranos; that the LIS was used in order to investigate whether testing results

 2 were accurate; and that the government’s knowing failure to take appropriate steps to collect the LIS (as

 3 illustrated by the emails) discredits its entire case. See Dkt. 1577. And while the government argues

 4 that the emails are not material today, Mr. Schenk and Mr. Bostic strenuously objected to Ms. Holmes’

 5 examination of witnesses about the LIS at trial, and to any argument about the government’s failure to

 6 obtain the LIS. See, e.g., Holmes 9/29/21 Tr. 2371-74, 11/10/21 Tr. 5877-89, 11/16/21 Tr. 6306-21.

 7 That conduct is a recognition that the government was concerned about the impact on trial of evidence

 8 relating to the LIS.

 9          Second, the government does not even attempt to contest that the emails would have exposed the

10 prosecutors’ motive to minimize the significance of the LIS and inflate the significance of anecdotal test

11 results. Nor does the government dispute that it suggested, without a good-faith basis for doing so, that

12 data in the LIS (and R&D data) was unreliable or even falsified.

13          Third, the government does not grapple with the effect of the emails under the Youngblood or the

14 Loud Hawk frameworks, which governed Ms. Holmes’ prior motions to suppress and to strike. The

15 record shows that, months before the dismantlement of the LIS in August 2018, Mr. Schenk and Mr.

16 Bostic were informed of potential complications associated with the LIS. Mr. Leach was informed that

17 the LIS hosted critical patient-testing data as early as December 2016. The newly produced emails

18 establish that these very prosecutors later ignored the recommendations of expert government personnel

19 on ways to access and preserve the LIS. That fact is highly relevant to whether the government acted in

20 bad faith in failing to preserve the LIS. The emails also show that the government concealed its

21 difficulty in accessing the LIS for more than one year after its internal deadline for completing document

22 productions to the defense—again, probative of bad faith under Youngblood, and highly relevant under

23 the “quality of government conduct” prong under Loud Hawk balancing. Similarly, the fact that Mr.

24 Schenk and Mr. Bostic were on notice of the technical difficulties associated with the LIS; attended a

25 meeting where utilizing FBI expertise was apparently discussed; committed to pursuing that option for

26 preserving the LIS; and yet have never produced material (written or unwritten) showing an attempt to

27 follow up with the FBI or another agency, is directly relevant to the Youngblood inquiry. See United

28 MS. HOLMES’ REPLY IN SUPPORT OF MOTION FOR NEW TRIAL BASED ON NEWLY
   DISCOVERED EVIDENCE RELATING TO LIS DATABASE
   CR-18-00258 EJD
                                        10
            Case 5:18-cr-00258-EJD Document 1592 Filed 09/28/22 Page 15 of 21




 1 States v. Rodriguez, 496 F.3d 221, 222 (2d Cir. 2007) (“When the Government is in possession of

 2 material information that impeaches its witness or exculpates the defendant, it does not avoid the

 3 obligation under Brady/Giglio to disclose the information by not writing it down.”).

 4          In response to all this, the government asserts that the LIS “would not have allowed the parties to

 5 sort accurate from inaccurate patient results or determine an overall failure rate for Theranos’ blood

 6 tests.” Opp’n at 15. The government’s position is inconsistent with Dr. Rosendorff’s testimony that he

 7 used the LIS to identify the source of any error in testing results, assess “how the Theranos results had

 8 been trending,” and “gather all of the information” about a particular test result. Dkt. 1577 at 8; see also

 9 Holmes 11/19/2021 Tr. 7101-02. Most importantly, the government does not dispute that the evidence

10 on which it relied to support the alleged falsity of Ms. Holmes’ representations concerning the accuracy

11 and reliability of Theranos testing ultimately traced to the LIS.

12          B.      The Government’s Arguments to the Contrary Are Unavailing.

13          The government’s arguments against materiality fall flat. First, the government argues that Ms.

14 Holmes cannot “show that the eleven LIS-Related Documents were relevant to a single element of her

15 counts of conviction.” Opp’n at 24. But the emails relate directly to the element of falsity in the

16 investor counts. The government’s evidence that statements regarding the accuracy and reliability of

17 Theranos technology were false was ultimately based on information in the LIS, and the emails show

18 that the government acted poorly in failing to preserve the LIS. This undermines the government’s

19 proof.4 See infra p. 12; Dkt. 1577.

20          Second, the government argues that “nothing in the LIS-Related Documents would materially

21 alter the information” available to Ms. Holmes in deciding whether to “put at issue the government’s

22 conduct.” Opp’n at 24. Not so. As described above, the emails contained previously unknown

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24

25          4
            Elsewhere in its brief, the government conflates the Rule 29 sufficiency-of-the-evidence
26 standard with the Brady standard, contrary to black-letter law. Compare, e.g., Opp’n at 20 (arguing that
   evidence in record “could uphold Defendant’s conviction on the four investor-related counts”), with
27 Browning v. Baker, 875 F.3d 444, 470 (9th Cir. 2017) (“Even if the jury—armed with all of this new
   evidence—could have voted to convict … we have no confidence that it would have done so.”).
28 MS. HOLMES’ REPLY IN SUPPORT OF MOTION FOR NEW TRIAL BASED ON NEWLY
   DISCOVERED EVIDENCE RELATING TO LIS DATABASE
   CR-18-00258 EJD
                                                      11
            Case 5:18-cr-00258-EJD Document 1592 Filed 09/28/22 Page 16 of 21




 1 information; were admissible; and would have enabled Ms. Holmes to identify the appropriate witnesses

 2 to testify as to the events of fall 2018.

 3          Third, the government contends that the emails cannot be material because Ms. Holmes has

 4 taken the position that its failure to preserve the LIS is “not relevant.” Opp’n at 17. The government

 5 quotes Ms. Holmes’ counsel at the May 2021 motion in limine argument concerning the government’s

 6 Rule 404(b) notice as to “decommissioning Theranos’ Laboratory Information System database.”

 7 4/3/2020 Gov’t Rule 404(b) Letter at 16. At that hearing, Ms. Holmes argued that the government

 8 should be precluded from insinuating, without evidence, that she was at fault for the loss of the LIS. But

 9 defense counsel stated that “we should have no restrictions on our ability to offer that evidence” relating

10 to the government’s failure to collect the LIS. 5/4/21 Tr. 50-51 (“[W]e should have no limitations with

11 respect to our ability to argue about [the government’s] failures to obtain that evidence.”). And Ms.

12 Holmes’ diligent efforts to obtain the emails reflect her belief in their relevance.

13          Fourth, the government suggests that the Court has already held that the at-issue emails do not

14 relate to accuracy and reliability. Opp’n at 24. But the Court order directing the production of the

15 emails in Mr. Balwani’s trial did not take a position (one way or the other) on the emails’ relevance to

16 that issue. Opp’n at 24; Dkt. 1464 at 5. To the extent that the government intends to refer to the Court’s

17 order precluding Mr. Balwani’s LIS expert from testifying that the “LIS database and its contents would

18 have demonstrated that Theranos tests were accurate and reliable,” it is no surprise that a computer

19 expert would not have an opinion on the accuracy and reliability of laboratory test results, and that

20 associated cross-examination and rebuttal would be limited according to the scope of that opinion. That

21 says nothing about whether the emails and the LIS relate to accuracy and reliability. Dkt. 1464 at 9. In

22 any event, the emails relate to the government’s accuracy-and-reliability allegations for a simple reason:

23 the government sought to prove that Ms. Holmes’ statements concerning the accuracy and reliability of

24 Theranos technology were false through evidence and testimony ultimately based on LIS data that is

25 now lost, due to government misconduct described (in part) in the emails.

26          Fifth, the government attempts to downplay its reliance on accuracy-and-reliability allegations in

27 connection with the investor counts. But in closing, Mr. Schenk described Ms. Holmes’ alleged

28 MS. HOLMES’ REPLY IN SUPPORT OF MOTION FOR NEW TRIAL BASED ON NEWLY
   DISCOVERED EVIDENCE RELATING TO LIS DATABASE
   CR-18-00258 EJD
                                        12
            Case 5:18-cr-00258-EJD Document 1592 Filed 09/28/22 Page 17 of 21




 1 misrepresentations concerning the accuracy of Theranos technology as “sort of the underlying false

 2 statement in the case” and “a thread through this scheme.” Holmes 12/16/21 Tr. 8959 (emphasis added);

 3 see also id. at 8910, 8915, 8936-37. Apart from its closing, the government highlighted the accuracy-

 4 and-reliability allegations in its opening, see also, e.g., 9/8/21 Tr. 532, 537-38, 540-41 (opening); and its

 5 questioning of investor witnesses (including the testifying C-2 investors), see, e.g., 11/2/21 Tr. 5102-03

 6 (D. Mosley) (“Q. Why? Forgive me, it might be obvious, but why was accuracy in blood testing

 7 important to you when you were considering investing? A. Well, you know, from an economic

 8 standpoint, the company would obviously do a lot better if it had a highly effective test, technology with

 9 high accuracy.”); 10/26/21 Tr. 4670 (L. Peterson) (“Q. Was it impressive to you that Theranos provided

10 the highest levels of accuracy and precision? A. Yes, of course.”); 11/16/21 Tr. 6390-91 (B. Grossman)

11 (“Q. And the very first question, ‘How does your accuracy and speed stack up against traditional tests.’

12 Do you see that?” A. Yes. Q. And why were you asking that? A. Well, it was, it was a fundamental

13 part of understanding what their technology was capable of doing, and what their competitive advantage

14 – what competitive advantage that they had against the conventional laboratory equipment.”).

15          In the government’s words, the accuracy-and-reliability allegations were a “thread” through the

16 two alleged conspiracies in the case. The LIS was the repository of data used by the company to store

17 patient testing and quality control data, to track that data, and to investigate questions concerning

18 whether particular tests (and test results) were accurate. The fact that Ms. Holmes at times argued that

19 the loss of the LIS related to the patient counts does nothing to undermine the prejudice associated with

20 the loss of the LIS to Ms. Holmes’ ability to confront the government’s accuracy-and-reliability

21 allegations in the investor counts (particularly when Ms. Holmes renewed her motion to suppress and

22 motion to strike at trial without limitation, 11/19/2021 Tr. 7101-02).

23          Last, the government argues that there is no “reasonable likelihood” of a different outcome

24 because Mr. Balwani obtained the emails during his trial, and was convicted. But Brady requires a

25 “retrospective determination” based on the entire record in Ms. Holmes’ case. Although the indictment

26 alleged the same offenses against Ms. Holmes and Mr. Balwani, there were numerous differences

27 between their trials (including the evidence admitted against them, and the witnesses who testified). Ms.

28 MS. HOLMES’ REPLY IN SUPPORT OF MOTION FOR NEW TRIAL BASED ON NEWLY
   DISCOVERED EVIDENCE RELATING TO LIS DATABASE
   CR-18-00258 EJD
                                        13
            Case 5:18-cr-00258-EJD Document 1592 Filed 09/28/22 Page 18 of 21




 1 Holmes’ case featured a split verdict, with acquittals, hung counts, and a limited number of convictions.

 2 In passing, the government suggests that the fact that Ms. Holmes testified may be grounds for denying

 3 that motion, but relies on a Rule 33 case not applying the Brady standard. Opp’n at 20. In cases like

 4 Ms. Holmes’, with a split verdict and deliberations for seven days, the Ninth Circuit has recognized that

 5 “[p]rejudice is especially likely . . . because the case was so close.” United States v. Obagi, 965 F.3d

 6 993, 998 (9th Cir. 2020) (finding prejudice in part because “[t]he jury deliberated for three days and still

 7 delivered a split verdict on the charges”). And the potential applications at Ms. Holmes’ trial (including

 8 in exposing prosecutor bias) go beyond the way in which Mr. Balwani chose, pursuant to his own trial

 9 strategy, to use the emails. See Dkt. 1577.

10 V.       Discovery and an Evidentiary Hearing Are Required.

11          The government objects to an evidentiary hearing on the grounds that Ms. Holmes has identified

12 no “‘new’ substantive information.” Opp’n at 25. But as discussed, the emails contain exculpatory

13 information that was previously undisclosed, and raise various specific questions requiring resolution in

14 an evidentiary hearing. See supra pp. 5-6; Dkt. 1577 at 12-13; Dkt. 810, 850. The government

15 complains that an evidentiary hearing would constitute a “fishing expedition to question members of the

16 prosecution team about their litigation choices.” Opp’n at 25. But this Court has recognized that “what

17 the government did or did not do are facts that are not protected.” Dkt. 1464 at 6. The government has

18 not explained how questions concerning its failure to collect and preserve evidence constitute protected

19 “opinions and mental impressions of the case.” Morris v. Ylst, 447 F.3d 735, 742 (9th Cir. 2006). More

20 fundamentally, attorney work product cannot trump the requirements of the Constitution. See id. (“[I]n

21 general, a prosecutor’s opinions and mental impressions of the case are not discoverable under Brady

22 unless they contain underlying exculpatory facts.” (emphasis added)). If there is potential Brady-Giglio

23 material that the government is continuing to withhold on this basis, Ms. Holmes asks the Court to

24 require that the government produce a privilege log to Ms. Holmes (or produce the information to the

25 Court for ex parte review) in advance of any evidentiary hearing.

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28 MS. HOLMES’ REPLY IN SUPPORT OF MOTION FOR NEW TRIAL BASED ON NEWLY
   DISCOVERED EVIDENCE RELATING TO LIS DATABASE
   CR-18-00258 EJD
                                        14
             Case 5:18-cr-00258-EJD Document 1592 Filed 09/28/22 Page 19 of 21




 1 VI.       The Emails Would Warrant A New Trial Even if They Were Not Brady-Giglio Material.

 2           Even were the Court to determine that the emails are not Brady-Giglio evidence, they would

 3 require a new trial.

 4           First, the documents were produced to Ms. Holmes after trial, and contain new information. See

 5 supra pp. 5-6, 9-11; Dkt. 1577 at 14. The government cites various cases for the proposition that

 6 evidence that “existed all along” is not “newly discovered.” Opp’n at 12. Those have no bearing here,

 7 where the government withheld specific information and admissible evidence, despite repeated requests

 8 by Ms. Holmes.

 9           Second, Ms. Holmes diligently sought to obtain this evidence. Dkt. 1577 at 1-3, 14. The

10 government does not dispute (nor could it) that she repeatedly requested these documents and

11 information for months prior to her trial. And while the government faults Ms. Holmes for not injecting

12 the question of fault for the loss of the LIS into her trial, it cites no authority for the proposition that this

13 strategic judgment unwinds Ms. Holmes’ specific, targeted requests for this discovery over a matter of

14 months. Ms. Holmes expects that the government would have resisted any attempt on her part to call

15 members of the prosecution team, or other personnel from the U.S. Attorney’s Office, based solely on

16 the representations in the Brady Letter.

17           Third, the emails were not cumulative, nor were they merely impeaching. See Dkt. 1577 at 14.

18           Fourth, the evidence is material, for the reasons discussed. Given the new information contained

19 in the emails, they would have helped Ms. Holmes prepare her defense, and inform her trial strategy.

20 See Dkt. 1577 at 14.

21           Fifth, the emails probably would have resulted in acquittal, for the reasons stated above and in

22 Ms. Holmes’ motion. See supra pp. 9-14; Dkt. 1577 at 15.5

23                                                  CONCLUSION

24           For the foregoing reasons, the Court should grant Ms. Holmes’ Motion and order a new trial.

25
             5
26         Ms. Holmes incorporates by reference the arguments addressing harmlessness and timeliness in
   her Reply in Support of Motion for New Trial Based on Newly Discovered Evidence from Mr.
27 Balwani’s Trial. And for the reasons stated in this Reply, because the emails are favorable, were
   suppressed, and are material, their suppression is not harmless and this Motion is timely. See Dkt. 1577.
28 MS. HOLMES’ REPLY IN SUPPORT OF MOTION FOR NEW TRIAL BASED ON NEWLY
   DISCOVERED EVIDENCE RELATING TO LIS DATABASE
   CR-18-00258 EJD
                                                       15
         Case 5:18-cr-00258-EJD Document 1592 Filed 09/28/22 Page 20 of 21




 1 DATED: September 28, 2022                Respectfully submitted,

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28 MS. HOLMES’ REPLY IN SUPPORT OF MOTION FOR NEW TRIAL BASED ON NEWLY
   DISCOVERED EVIDENCE RELATING TO LIS DATABASE
   CR-18-00258 EJD
                                        16
           Case 5:18-cr-00258-EJD Document 1592 Filed 09/28/22 Page 21 of 21




 1                                     CERTIFICATE OF SERVICE

 2         I hereby certify that on September 28, 2022 a copy of this filing was delivered via ECF on all
 3 counsel of record.

 4

 5                                                      /s/ Amy Mason Saharia
                                                        AMY MASON SAHARIA
 6                                                      Attorney for Elizabeth Holmes

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     MS. HOLMES’ REPLY IN SUPPORT OF MOTION FOR NEW TRIAL BASED ON NEWLY
     DISCOVERED EVIDENCE RELATING TO LIS DATABASE
     CR-18-00258 EJD
